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IN THE UNITED STATES DISTRICT COURT
FOR TI'IE WESTERN DISTRICT OF TENNESSEE !Fl\.ED BY D'c‘
WESTERN DIVISION

 

ANA PATRICIA CHAVEZ, CECILIA ) DSJUL .30
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Jorm noE, ) . wAJOF id z.»:§;».€P+§S
Plaintiffs, §
v. § Nb. 03-2932-M1/P
NICOLAS CARRANZA, §
Defendant. §

 

ORDER FOLLOWING TELEPHONE CONFERENCE
AND
ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE MOTION FOR
SUMMARY JUDGMENT UNDER SEAL

 

The Court held a telephone conference1 on Monday, July 25,
2005, to discuss the Plaintiffs’ Motion for Leave to File Motion
for Summary Judgment Under Seal. Plaintiffs Were represented by
David R. Esquivel, Esq., Matthew J. Sinback, Esq., and Matthew J.
Eisenbrandt, Esq. Defendant Was represented by Robert M.
Fargarson, Esq. Pursuant to the discussion during the telephone
conference, the Court GRANTS Plaintiffs' Motion for Leave to File
Motion for Summary Judgment Under Seal. Any subsequent filings
related to Plaintiffs’ Motion for Summary Judgment shall also be

filed by the clerk under seal. The parties are also directed to

 

1 The Court held the conference because of the strong preference
that proceedings be open to the public. After discussion, the Court
determined that it was not practical, at least as to one party, to
submit redacted documents at this stage of the proceedings. It is
unlikely, however, that the same protections can be made available to
the Doe parties at the anticipated trial.

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reserve October 24, 2005, as a date on which the trial date may

be advanced from its current October 31, 2005, setting.2

IT Is 30 oRDERED this 35 day of July, 2005.

/w. WQQQL

JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

2 The Court will monitor the events in Arnett v. Myers, No. 98-
1263 (W.D. Tenn. filed Sept. 24, 1998) in determining whether to
advance the trial date to October 24, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CV-02932 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

